Case: 1:22-cv-01048 Document #: 9 Filed: 05/09/22 Page 1 of 9 PagelD #:20

AO 440 (Rev. 05/00) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

SUMMONS IN A CIVIL CASE
Susan Phillips, et al.
CASE NUMBER: 1:22-cv-01048
V. ASSIGNED JUDGE:

Andrea R. Wood

The United States of America DESIGNATED

MAGISTRATE JUDGE: Maria Valdez

TO: (Name and address of Defendant)

The United States of America
c/o U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

Nicholas A. DiCello, Jeremy A. Tor & Michael P. Lewis
Spangenberg Shibley & Liber LLP

1001 Lakeside Avenue East, Suite 1700

Cleveland, OH 44114

an answer to the complaint which is herewith served upon you, 60 days after service of this

summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for

the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

THOMAS G. BRUTON, CLERK

April 21, 2022

(By) DEPUTY CLERK DATE
Case: 1:22-cv-01048 Document #: 9 Filed: 05/09/22 Page 2 of 9 PageID #:21
AO 440 (Rev. 05/00) Summons in a Civil Action

RETURN OF SERVICE
DATE
Service of the Summons and complaint was made by me“ 4/27/2022
NAME OF SERVER (PRINT) TITLE
Jeremy A. Tor Attorney for Plaintiffs

Check one box below to indicate appropriate method of service

O Served personally upon the defendant. Place where served:

O Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
discretion then residing therein.

Name of person with whom the summons and complaint were left:

OO Returned unexecuted:

M Other (specify). PUMmMons and Complaint served by U.S. Certified Mail

(USPS tracking no. 9214 8901 9403 8374 0458 38).

Signature confirmation return receipt / proof of delivery attached hereto.

STATEMENT OF SERVICE FEES

TRAVEL SERVICES TOTAL

0.00 0.00 0.00

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on 9/9/2022 /s/ Jeremy A. Tor

Date Signature of Server

1001 Lakeside Ave. East, Suite 1700, Cleveland, OH 44114

Address of Server

(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
CARA TIEDD-SFATES Document #: 9 Filed: 05/09/22 Page 3 of 9 PagelD #:22

Ban POSTAL SERVICE.

Mailer: Spangenberg Shibley & Liber LLP

Date Produced: 05/02/2022

ConnectSuite Inc.:

The following is the delivery information for Certified Mail™/RRE item number 9214 8901 9403 8374

0458 38. Our records indicate that this item was delivered on 04/27/2022 at 04:49 a.m. in
WASHINGTON, DC 20530. The scanned image of the recipient information is provided below.

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Signature of Recipient : clk co a

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Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
please contact your local post office or Postal Service representative.

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Address of Recipient :

Sincerely,
United States Postal Service

The customer reference number shown below is not validated or endorsed by the United States Postal
Service. It is solely for customer use.

This USPS proof of delivery is linked to the customers mail piece information on file

as shown below:
THE UNITED STATES OF AMERICA
C/O: U S DEPARTMENT OF JUSTICE

950 PENNSYLVANIA AVE NW
WASHINGTON DC 20530-0001

Customer Reference Number: C3379997.19766893
Case: 1:22-cv-01048 Document #: 9 Filed: 05/09/22 Page 4 of 9 PagelD #:23

AO 440 (Rev. 05/00) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

SUMMONS IN A CIVIL CASE
Susan Phillips, et al.
CASE NUMBER: 1:22-cv-01048
V. ASSIGNED JUDGE:

Andrea R. Wood
The United States of America DESIGNATED

MAGISTRATE JUDGE: Maria Valdez

TO: (Name and address of Defendant)

Attorney General of the United States
U.S. Department of Justice

950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

Nicholas A. DiCello, Jeremy A. Tor & Michael P. Lewis
Spangenberg Shibley & Liber LLP

1001 Lakeside Avenue East, Suite 1700

Cleveland, OH 44114

an answer to the complaint which is herewith served upon you, 60 days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

THOMAS G. BRUTON, CLERK

April 21, 2022

(By) DEPUTY CLERK DATE
Case: 1:22-cv-01048 Document #: 9 Filed: 05/09/22 Page 5 of 9 PagelD #:24
AO 440 (Rev. 05/00) Summons in a Civil Action

RETURN OF SERVICE
DATE
Service of the Summons and complaint was made by me“ 4/27/2022
NAME OF SERVER (PRINT) TITLE
Jeremy A. Tor Attorney for Plaintiffs

Check one box below to indicate appropriate method of service

O Served personally upon the defendant. Place where served:

O Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
discretion then residing therein.

Name of person with whom the summons and complaint were left:

OO Returned unexecuted:

XM Other (specify, SUMmons and Complaint served by U.S. Certified Mail

(USPS tracking no. 9214 8901 9403 8374 0458 07).

Signature confirmation return receipt / proof of delivery attached hereto.

STATEMENT OF SERVICE FEES

TRAVEL SERVICES TOTAL

0.00 0.00 0.00

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on 9/9/2022 /s/ Jeremy A. Tor

Date Signature of Server

1001 Lakeside Ave. East, Suite 1700, Cleveland, OH 44114

Address of Server

(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
CARA TIEDD-SFATES Document #: 9 Filed: 05/09/22 Page 6 of 9 PagelD #:25

Ban POSTAL SERVICE.

Mailer: Spangenberg Shibley & Liber LLP

Date Produced: 05/02/2022

ConnectSuite Inc.:

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0458 07. Our records indicate that this item was delivered on 04/27/2022 at 04:49 a.m. in
WASHINGTON, DC 20530. The scanned image of the recipient information is provided below.

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Signature of Recipient : clk co a

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Address of Recipient :

Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
please contact your local post office or Postal Service representative.

Sincerely,
United States Postal Service

The customer reference number shown below is not validated or endorsed by the United States Postal
Service. It is solely for customer use.

This USPS proof of delivery is linked to the customers mail piece information on file

as shown below:
ATTORNEY GENERAL OF THE UNITED STATES
U S DEPARTMENT OF JUSTICE

950 PENNSYLVANIA AVE NW
WASHINGTON DC 20530-0001

Customer Reference Number: C3379997.19766892
Case: 1:22-cv-01048 Document #: 9 Filed: 05/09/22 Page 7 of 9 PagelD #:26

AO 440 (Rev. 05/00) Summons in a Civil Action

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

SUMMONS IN A CIVIL CASE
Susan Phillips, et al.
CASE NUMBER: 1:22-cv-01048
V. ASSIGNED JUDGE:

Andrea R. Wood
The United States of America DESIGNATED

MAGISTRATE JUDGE: Maria Valdez

TO: (Name and address of Defendant)

United States Attorney

Northern District of Illinois, Eastern Division
Attn: Civil Process Clerk

219 S. Dearborn St., 5th Floor

Chicago, IL 60604

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

Nicholas A. DiCello, Jeremy A. Tor & Michael P. Lewis
Spangenberg Shibley & Liber LLP

1001 Lakeside Avenue East, Suite 1700

Cleveland, OH 44114

an answer to the complaint which is herewith served upon you, 60 days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

THOMAS G. BRUTON, CLERK

April 21, 2022

(By) DEPUTY CLERK DATE
Case: 1:22-cv-01048 Document #: 9 Filed: 05/09/22 Page 8 of 9 PagelID #:27
AO 440 (Rev. 05/00) Summons in a Civil Action

RETURN OF SERVICE
DATE
Service of the Summons and complaint was made by me“ 4/27/2022
NAME OF SERVER (PRINT) TITLE
Jeremy A. Tor Attorney for Plaintiffs

Check one box below to indicate appropriate method of service

O Served personally upon the defendant. Place where served:

O Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
discretion then residing therein.

Name of person with whom the summons and complaint were left:

OO Returned unexecuted:

X other (specify; ©UMMons and Complaint served by U.S. Certified Mail

(USPS tracking no. 9214 8901 9403 8374 0459 20).

Signature confirmation return receipt / proof of delivery attached hereto.

STATEMENT OF SERVICE FEES

TRAVEL SERVICES TOTAL

0.00 0.00 0.00

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

Executed on 9/9/2022 /s/ Jeremy A. Tor

Date Signature of Server

1001 Lakeside Ave. East, Suite 1700, Cleveland, OH 44114

Address of Server

(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
CARA TIED-SFATES Document #: 9 Filed: 05/09/22 Page 9 of 9 PagelD #:28

Ban POSTAL SERVICE.

Mailer: Spangenberg Shibley & Liber LLP
Date Produced: 05/02/2022
ConnectSuite Inc.:

The following is the delivery information for Certified Mail™/RRE item number 9214 8901 9403 8374
0459 20. Our records indicate that this item was delivered on 04/27/2022 at 10:10 a.m. in CHICAGO, IL
60604. The scanned image of the recipient information is provided below.

Signature of Recipient : YO 2 ~~ > ~_A
(Authorized Agent)

Address of Recipient : 2 { >

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Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
please contact your local post office or Postal Service representative.

Sincerely,
United States Postal Service

The customer reference number shown below is not validated or endorsed by the United States Postal
Service. It is solely for customer use.

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as shown below:

UNITED STATES ATTORNEY
NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
ATIN: CIVIL PROCESS CLERK
5
219 S DEARBORN ST
CHICAGO IL 60604-2029

Customer Reference Number: C3379997.19766894
